            Case 4:11-cr-00156-JM Document 726 Filed 10/06/14 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                  NO. 4:11CR00156-07-JLH

JUANA PATRICIA BAMAC-PEREZ                                                           DEFENDANT

                                             ORDER

        Defendant’s Motion for Two Point Reduction is DENIED without prejudice, because it is

premature. Document #665. Defendants will not be entitled to relief under Amendment 782

(assuming the USSG’s recommendation is accepted by Congress) until November 1, 2015, at the

earliest.

        Accordingly, defendant may refile her motion in about a year, if the Court has not dealt with

the issue before then.

        IT IS SO ORDERED this 6th day of October, 2014.




                                                      UNITED STATES DISTRICT JUDGE
